        Case 2:18-cr-00011-DLC Document 10 Filed 06/07/18 Page 1 of 2

                                                                          FILED 

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ATTOR~EY  FOR PLAINTIFF
UNITED STATES OF AMERICA


                 IN THE UNITED STATES DISTRICT COURT 

                     FOR THE DISTRICT OF MONTANA 

                            BUTTE DIVISION 


  UNITED STATES OF AMERICA,               CR 18-   t \ -BU- bLC
               Plaintiff,                 INDICTMENT

       VS. 
                              ILLEGAL REENTRY
                                          Title 8 U.S.c. § 1326(a) 

                                          (penalty: Two years imprisonment, $250,000
  RUBEN LOPEZ-URIAS,                      fine, and one year supervised release)

               Defendant.


THE GRAND JURY CHARGES:

      That on or about May 23,2018, at Bozeman, and within Gallatin County, in

the State and District of Montana, the defendant, RUBEN LOPEZ-URIAS, an alien

and citizen of Mexico, who had previously been deported and removed from the

United States on or about July 8, 2014, was thereafter found in the United States
        Case 2:18-cr-00011-DLC Document 10 Filed 06/07/18 Page 2 of 2



without having received express consent of the Secretary of Homeland Security to

reapply for admission to the United States, in violation of 8 U.S.c. § I 326(a).

       A TRUE BILL.
                               Foreperson signature redacted. Original document filed
                               under seal.




JOSEPH E. THAGGARD
Criminal Chief Assistant U.S. Attorney




                                                         (rim. Summons,_ _
                                                         Wgrro" ,,_ _ __
                                                         Bol..,_ _ _ __




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